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                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF FLORIDA
                           GAINESVILLE DIVISION

In re:                                              Case No.: 18-10341-KKS
ELSMORE, BRIAN                                                    Chapter 7
ELSMORE, MERCEDES
    Debtors
______                    /
  ORDER GRANTING CHAPTER 7 TRUSTEE’S MOTION TO (I) APPROVE A
 SHORT SALE OF REAL PROPERTY FREE AND CLEAR OF LIENS, CLAIMS,
 ENCUMBRANCES, AND INTERESTS PURSUANT TO 11 U.S.C. § 363(b), (f),
  AND (m), (II) SURCHARGE AGREEMENT BETWEEN SECURED LENDER
           AND THE ESTATE,AND (III ) OTHER RELIEF (DOC. 42)
       (4025 NORTHWEST 35TH STREET GAINESVILLE, FL 32605)
         THIS CAUSE came before the court on 10/17/19 to consider Chapter 7

Trustee, Theresa Bender’s (“Trustee”) Motion to Sell Real Property and Pay

Secured Creditors (the “Motion”) (Dkt. No. 42). The Motion was served upon all

interested parties informing the parties of their opportunity to respond within 7 days

of the date of service as approved by this Court; the Secured Creditor, U.S. Bank

National Association, as Trustee for Lehman XS Trust Mortgage Pass-Through

Certificates, Series 2007-7N, currently serviced by NationStar Mortgage LLC d/b/a

Mr. Cooper having consented, and no party filed a response within the time

permitted; and the Court therefore considers the Motion unopposed. Accordingly,

it is:

         ORDERED:
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      1.       The notice of the Motion is approved as proper and adequate under

the circumstances.

      2.       The Motion is GRANTED.

      3.       The Trustee is authorized to sell the real property located at

4025 NORTHWEST 35TH STREET GAINESVILLE, FL 32605 (the “Real

Property”), for $202,500.00, conditioned on the consent of its lienholder(s), and in

accordance with the terms provided for in the Motion.

      4.       The Trustee is authorized to pay the secured mortgage creditor, Mr.

Cooper, (also known as “Secured Creditor”) the sum of $170,130.27 in full and fair

satisfaction of their lien as of the date of closing, consistent with Mr. Cooper’s

approval letter attached to the Motion to Sell.

      5.       The Trustee is authorized to take any and all actions and to execute

any and all documents necessary and appropriate to effectuate and consummate

the terms of said sale, including, executing a deed conveying the interests of the

Debtor in the Property to the Buyer

      6.       Pursuant to Section 363(f) of the Bankruptcy Code, effective upon

closing, the sale of the Real Property will vest in the Buyer(s) all right, title and

interest of the Debtors and the bankruptcy estate in the Real Property, free and

clear of the liens, claims or interests listed below (collectively, the “Affected

Interests”):
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                     1. Brian Elsmore, Debtor, name on deed

                     2. Mr. Cooper, mortgage lienholder

                     3. Sable Chase Cluster Subdivision

                        Community Association, Inc.




      7.     This Order is and shall be effective as a determination that, upon and

subject to the occurrence of the closing of the sale, all Affected Interests have been

and hereby are adjudged and declared to be unconditionally released as to the

Real Property.

      8.     The Buyer has not assumed any liabilities of the Debtors.

      9.     The Trustee, and any escrow agent upon the Trustee’s written

instruction, shall be authorized to make such disbursements, consistent with that

draft HUD attached as an Exhibit to the Motion, on or after the closing of the sale

as are required by the purchase agreement or order of this Court, including, but

not limited to, (a) all delinquent real property taxes and outstanding post-petition

real property taxes pro-rated as of the closing with respect to the real property

included among the purchased assets; and (b) other anticipated closing costs

(estimated below):
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       Total Sales/Brokers Commission:

       2% to GATOR HOMES REALTY                                            $4050.00

       2% to Golden Rule Real Estate                                       $4050.00

       2% to BK Global Real Estate Services                                $4050.00

       (Incl. 506(C) Surcharge made payable to “Theresa M. Bender, Chapter 7

Trustee for Elsmore”)                                                      $10,125.00

       and Customary Government recording / transfer charges as set forth in that

draft HUD attached as an exhibit to the Motion to Sell.

       10.    Without further order of the court, the Trustee is authorized to pay

closing costs in amounts different than the estimated amounts described above so

long as they are within industry standard and with the consent of the lienholder,

Secured Creditor and applicable home owners association, with the exception of

the surcharge to the Trustee.

       11.    Except as otherwise provided in the Motion, the Real Property shall

be sold, transferred, and delivered to Buyers pursuant to a “Trustee’s Deed” on an

“as is, where is” or “with all faults” basis.

       12.    Buyer is approved as a buyers in good faith in accordance with

Section 363(m) of the Bankruptcy Code, and Buyer shall be entitled to all

protections of Section 363(m) of the Bankruptcy Code.
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      13.    This Court retains jurisdiction to enforce and implement the terms and

provisions of this Order and the purchase agreement, all amendments thereto, any

waivers and consents thereunder, and each of the documents executed in

connection therewith in all respects, including retaining jurisdiction to (a) compel

delivery of the Real Property to the Buyer(s), (b) resolve any disputes arising under

or related to the purchase agreement, and (c) resolve any disputes regarding liens,

claims, or interests asserted against the Real Property.

      14.    The purchase agreement and any related documents or other

instruments may be modified, amended or supplemented by the parties thereto, in

a writing signed by the parties, without further order of the Court, provided that any

such modification, amendment or supplement does not have a material adverse

effect on the Debtors’ bankruptcy estate.

      15.    Should the closing not occur on or before November 1, 2019, 12:00

o’clock noon (CT), per the terms of Mr. Cooper’s approval/consent letter, attached

as an Exhibit to the Motion, any subsequent sale short of full payoff will be subject

to U.S. Bank’s final approval.
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16.    The 14 day stay pursuant to Rule 6004(h), is waived and the sale order is

enforceable immediately upon entry, and authorize the Trustee to close on the sale

immediately upon entry of the Final Sale Order.

                          17th day of October 2019.
DONE AND ORDERED on this ______



                                              _____________________________
                                              KAREN K. SPECIE
                                              United States Bankruptcy Judge


Trustee is directed to serve a copy of this order on interested parties and file a proof of service
within three (3) days of entry of the order.
Order prepared by: Theresa M Bender

Copies provided to:
Debtors
Debtors’ Counsel
UST
Parties in Interest
